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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

BRIAN RANDOLPH,
Plaintiff,
v. CASE NO.: 8:19-cv-00163-SCB-SPF

CAPITAL ONE BANK (USA), N.A.,
Defendant.
/

MEDIATOR'S NOTICE OF SETTLEMENT
James R. Betts, the undersigned mediator, advises this court that the parties' mediation
conference on November 13, 2019, attended by Kaelyn Steinkraus, Esq., Mr. Brian Randolph,
Jenny N. Perkins, Esq. and Ms. Lauren Loyd, resulted in a complete settlement.
Certificate of Service
I hereby certify that on November 13, 2019, by using the CM/ECF system I electronically

filed a copy of this notice with the Clerk of the District Court and served true copies of this
notice upon the following:

Kaelyn Steinkraus, Esq. Jenny N. Perkins, Esq.
Fax: (727) 362-4778 Fax: (215) 864-8999

 

es R. Betts, Esq.

BN 327786
Mediation Cert. #10773R
710 S. Boulevard
Tampa, Florida 33606-2903
(813) 254-3302
(813) 254-5322 fax
JBETTS@TAMPABAY.RR.COM
